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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

BASIC CAPITAL MANAGEMENT,                   §
INC., et al.,                               §
                                            §
                     Plaintiffs,            §
                                            §
VS.                                         §     Civil Action No. 3:17-CV-1147-D
                                            §
DYNEX CAPITAL, INC., et al.,                §
                                            §
                     Defendants.            §

                               MEMORANDUM OPINION
                                   AND ORDER

       In this action asserting claims for fraudulent transfer, civil conspiracy, and alter ego

liability, defendants move—in five separate motions—to dismiss plaintiffs’ first amended

complaint under Fed. R. Civ. P. 8(a)(2), 9(b), and 12(b)(6). Three defendants also move to

dismiss for lack of personal jurisdiction under Rule 12(b)(2). The principal merits question

presented is whether plaintiffs have sufficiently amended their state-court original petition

(“petition”) to state a claim on which relief can be granted. The court must also decide

whether it can exercise personal jurisdiction over three defendants under a conspiracy theory

of personal jurisdiction. For the reasons explained, the court concludes that plaintiffs have

remedied certain errors, but have not yet sufficiently stated their claims. It also holds that

it lacks personal jurisdiction over three defendants. The court therefore grants defendants’

motions to dismiss, but it also grants plaintiffs leave to file a second amended complaint.
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                                              I

       This case is the subject of two prior memorandum opinions and orders. See Basic

Capital Mgmt., Inc. v. Dynex Capital, Inc. (Basic Capital II), 2018 WL 2100041 (N.D. Tex.

May 7, 2018) (Fitzwater, J.); Basic Capital Mgmt., Inc. v. Dynex Capital, Inc., 2017 WL

5197145 (N.D. Tex. Nov. 7, 2017) (Fitzwater, J.). The court will therefore recount only the

background facts and procedural history that are pertinent to this decision.

       This suit, brought by plaintiffs Basic Capital Management, Inc. (“BCM”),

Transcontinental Realty Investors, Inc. (“TRI”), and Michael J. Quilling as Receiver of

American Realty Trust, Inc. (“ART”),1 relates to a lawsuit filed nearly two decades ago.

Defendants Dynex Capital, Inc. (“Dynex Capital”) and Dynex Commercial, Inc. a/k/a DCI

Commercial, Inc. (“DCI”) are real estate lending companies. They entered into a transaction

with plaintiff BCM, acting on behalf of plaintiffs ART and TRI, that included two loan

commitments—one to borrow $33.4 million to acquire and develop three buildings in New

Orleans, and one to borrow $160 million to develop commercial and multifamily properties

(the “$160 Million Commitment”). In 1999 BCM, ART, and TRI sued DCI in Texas state



       1
         Plaintiffs’ first amended complaint is ambiguous concerning whether there is a fourth
plaintiff. On page 1, “Michael J. Quilling, as the duly appointed and qualified Receiver of
Dynex Commercial, Inc.,” is listed as a plaintiff. And the case caption lists “DYNEX
COMMERCIAL, INC.” as a plaintiff. In § I(1)-(3) of the first amended complaint, however,
only three plaintiffs are listed. Dynex Commercial a/k/a DCI Commercial, Inc., is designated
as a defendant. See § I(5). And it has filed one of the motions to dismiss that the court is
considering today. For purposes of this memorandum opinion and order, the court will treat
this party only as a defendant. But plaintiffs should clear up this ambiguity in their second
amended complaint.

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court, alleging claims related to the breach of the $160 Million Commitment. In 2000 Dynex

Capital was added as a defendant in the state court action. In 2004, shortly before the jury

rendered a verdict, at least one of the plaintiffs researched and printed out UCC filings that

covered assets in which DCI was listed as a secured party. The jury generally found in favor

of BCM, ART, and TRI, but the trial court granted Dynex Capital’s and DCI’s post-verdict

motions and entered a take-nothing judgment. After appeals to the court of appeals and the

Supreme Court of Texas, the trial court in 2015 entered a final judgment against DCI,

awarding BCM, ART, and TRI damages for breach of the $160 Million Commitment (“2015

final judgment”).

       In April 2017 plaintiffs filed the instant suit in state court against Dynex Capital and

DCI, alleging claims for fraudulent transfer and civil conspiracy under the Texas Uniform

Fraudulent Transfer Act (“TUFTA”), Tex. Bus. & Com. Code Ann. § 24.001 (West 2018),

and alter ego liability. Plaintiffs alleged that Dynex Capital and DCI engaged in a series of

transfers of DCI’s assets that rendered DCI insolvent and unable to pay the damages awarded

in connection with the 2015 final judgment. Plaintiffs also sought other remedies relating

to Dynex Capital and DCI’s allegedly fraudulent conduct.2 After removing the case to this

court, Dynex Capital and DCI each moved to dismiss plaintiffs’ petition. Concluding that

plaintiffs had failed to allege sufficient factual allegations to support their claims, the court



       2
        Plaintiffs sought appointment of a receiver under Texas law to protect the value of
their judgment by conserving the assets of Dynex Capital and DCI. They also sought
exemplary damages and attorney’s fees.

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granted both motions to dismiss on Rule 12(b)(6) and 8(a)(2) grounds and granted plaintiffs

leave to file an amended complaint.

       Plaintiffs timely filed a first amended complaint that brings identical claims and seeks

identical remedies, but adds a variety of allegations and exhibits, as well as three defendants:

Stephen Benedetti (“Benedetti”), ICD Holding, Inc. (“ICD”), and Dynex Holding, Inc.

(“Dynex Holding”). The new allegations and exhibits are largely derived from the UCC

filings compiled in 2004, a litigation cost sharing agreement between Dynex Capital and

DCI, and an April 2018 oral deposition of Benedetti, who was asked, inter alia, about the

UCC filings and the litigation cost sharing agreement.

       Dynex Capital and DCI now each move to dismiss plaintiffs’ first amended complaint

under Rule 8(a)(2), 9(b) and 12(b)(6). Benedetti, ICD, and Dynex Holding each move under

Rule 8(a)(2), 9(b), 12(b)(2), and 12(b)(6) to dismiss the first amended complaint. Plaintiffs

oppose defendants’ motions in two separate responses.3

                                               II

       The court first considers Benedetti’s, ICD’s, and Dynex Holding’s motions to dismiss

for lack of personal jurisdiction under Rule 12(b)(2).

                                               A

       “When a nonresident defendant presents a motion to dismiss for lack of personal



       3
        The first response opposes Dynex Capital’s and DCI’s motions to dismiss and is
referred to throughout as “Ps. Resp. I.” The second response opposes Benedetti’s, ICD’s,
and Dynex Holding’s motions to dismiss and is referred to throughout as “Ps. Resp. II.”

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jurisdiction, the plaintiff bears the burden of establishing the district court’s jurisdiction over

the nonresident.” Stuart v. Spademan, 772 F.2d 1185, 1192 (5th Cir. 1985) (citing Thompson

v. Chrysler Motors Corp., 755 F.2d 1162, 1165 (5th Cir. 1985); D.J. Invs., Inc. v. Metzeler

Motorcycle Tire Agent Gregg, Inc., 754 F.2d 542, 545 (5th Cir. 1985)). The determination

whether a federal district court has in personam jurisdiction over a nonresident defendant is

bipartite. The court first decides whether the long-arm statute of the state in which it sits

confers personal jurisdiction over the defendant. If it does, the court then resolves whether

the exercise of jurisdiction is consistent with due process under the United States

Constitution. See Mink v. AAAA Dev. LLC, 190 F.3d 333, 335 (5th Cir. 1999). Because the

Texas long-arm statute extends to the limits of due process, the court need only consider

whether exercising jurisdiction over these defendants would be consistent with the Due

Process Clause of the Fourteenth Amendment. See id.; Alpine View Co. v. Atlas Copco AB,

205 F.3d 208, 214 (5th Cir. 2000).

                       The Due Process Clause of the Fourteenth Amendment
               permits the exercise of personal jurisdiction over a nonresident
               defendant when (1) that defendant has purposefully availed
               himself of the benefits and protections of the forum state by
               establishing “minimum contacts” with the forum state; and (2)
               the exercise of jurisdiction over that defendant does not offend
               “traditional notions of fair play and substantial justice.” To
               comport with due process, the defendant’s conduct in
               connection with the forum state must be such that he “should
               reasonably anticipate being haled into court” in the forum state.

Latshaw v. Johnston, 167 F.3d 208, 211 (5th Cir. 1999) (footnotes omitted) (first quoting

Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945); then quoting World-Wide


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Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980)). To determine whether exercising

jurisdiction would satisfy traditional notions of fair play and substantial justice, the court

examines (1) the defendant’s burden, (2) the forum state’s interests, (3) the plaintiff’s

interests in convenient and effective relief, (4) the judicial system’s interest in efficient

resolution of controversies, and (5) the state’s shared interest in fundamental social policies.

Ruston Gas Turbines, Inc. v. Donaldson Co., 9 F.3d 415, 421 (5th Cir. 1993).

       A defendant’s contacts with the forum may support either specific or general

jurisdiction over the defendant. Mink, 190 F.3d at 336. “For the court properly to assert

specific personal jurisdiction, the defendant must have ‘purposefully directed’ his activities

at residents of the forum, and the litigation must result from alleged injuries that ‘arise out

of or relate to’ the defendant’s activities directed at the forum.” Archer & White, Inc. v.

Tishler, 2003 WL 22456806, at *2 (N.D. Tex. Oct. 23, 2003) (Fitzwater, J.) (citing Burger

King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985)). “General jurisdiction exists when a

defendant’s contacts with the forum state are unrelated to the cause of action but are

‘continuous and systematic.’” Id. (quoting Mink, 190 F.3d at 336). “[A] court may assert

jurisdiction over a foreign corporation ‘to hear any and all claims against [it]’ only when the

corporation’s affiliations with the State in which suit is brought are so constant and pervasive

‘as to render [it] essentially at home in the forum State.’” Daimler AG v. Bauman, 571 U.S.

117, 122 (2014) (first brackets added) (quoting Goodyear Dunlop Tires Operations, S.A. v.

Brown, 564 U.S. 915, 919 (2011)). Plaintiffs argue that this court has specific jurisdiction

over Benedetti, ICD, and Dynex Holding.

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       When deciding a motion to dismiss for lack of personal jurisdiction, the court is not

limited to considering the facts pleaded in the complaint. See Walk Haydel & Assocs. v.

Coastal Power Prod. Co., 517 F.3d 235, 241 (5th Cir. 2008). Rather, “the district court may

receive any combination of the recognized methods of discovery, including affidavits,

interrogatories, and depositions to assist it in the jurisdictional analysis.” Tendeka, Inc. v.

Glover, 2014 WL 978308, at *3 (S.D. Tex. Mar. 12, 2014) (Rosenthal, J.) (internal

quotations omitted). “The district court usually resolves the jurisdictional issue without

conducting a hearing.” Ham v. La Cienega Music Co., 4 F.3d 413, 415 (5th Cir. 1993)

(footnote omitted).

              When a court rules on a motion to dismiss for lack of personal
              jurisdiction without holding an evidentiary hearing, it must
              accept as true the uncontroverted allegations in the complaint
              and resolve in favor of the plaintiff any factual conflicts posed
              by the affidavits. Therefore, in a no-hearing situation, a plaintiff
              satisfies his burden by presenting a prima facie case for personal
              jurisdiction.

Latshaw, 167 F.3d at 211 (footnotes omitted). “This liberal standard, however, does not

require the court to credit conclusory allegations, even if they remain uncontradicted.”

Panda Brandywine Corp. v. Potomac Elec. Power Co., 2000 WL 35615925, at *2 (N.D. Tex.

Sept. 15, 2000) (Fitzwater, J.) (citing Felch v. Transportes Lar-Mex SA DE CV, 92 F.3d 320,

326 n.16 (5th Cir. 1996)), aff’d, 253 F.3d 865, 869 (5th Cir. 2001) (per curiam) (affirming,

inter alia, this conclusion).




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                                              B

       Plaintiffs’ first amended complaint fails to address the court’s personal jurisdiction

over Benedetti, ICD, and Dynex Holding. In plaintiffs’ opposition to the motions to dismiss

of Benedetti, ICD, and Dynex Holding, they maintain that the court has specific jurisdiction

under the conspiracy theory of jurisdiction.4 Benedetti, ICD, and Dynex Holding respond

that the conspiracy theory of personal jurisdiction has been expressly rejected by the

Supreme Court of Texas and the Fifth Circuit.

       To establish specific personal jurisdiction via a conspiracy theory, the court must

consider “whether the plaintiffs made a prima facie showing of minimum contacts with

[Texas] by each . . . defendant based on [the defendant’s] civil conspiracy . . . to commit an

intentional or willful act, which was carried out and resulted in damage to the plaintiffs in

the state.” Guidry v. U.S. Tobacco Co., Inc., 188 F.3d 619, 632 (5th Cir. 1999); accord Delta

Brands Inc. v. Danieli Corp., 99 Fed. Appx. 1, 6 (5th Cir. 2004) (per curiam); Eagle Metal

Prods., LLC v. Keymark Enters., LLC, 651 F.Supp.2d 577, 593 (N.D. Tex. 2009) (Lynn, J.)

(rejecting application of “conspiracy theory” of jurisdiction based on Fifth Circuit case law,


       4
         The opposition may also be read as asserting that the allegations contained in
plaintiffs’ first amended complaint support the effects theory or the alter ego theory of
personal jurisdiction. Neither theory can support a prima facie case of personal jurisdiction
over Benedetti, ICD, or Dynex Holding given the current factual allegations. The effects
theory, derived from Calder v. Jones, 465 U.S. 783, 789 (1984), “is not a substitute for a
nonresident’s minimum contacts that demonstrate purposeful availment of the benefits of the
forum state.” Allred v. Moore & Peterson, 117 F.3d 278, 286 (5th Cir. 1997). And, although
Texas law (not Virginia law) may apply for the jurisdictional alter ego analysis, see Jackson
v. Tanfoglio Giuseppe, S.R.L., 615 F.3d 579, 587 (5th Cir. 2010), the alter ego theory of
jurisdiction fails for those reasons discussed infra, among others.

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including Delta Brands). “Each defendant’s contacts with the forum must be analyzed

individually, and a defendant cannot be subject to personal jurisdiction solely because he

participated in an alleged conspiracy with a co-conspirator who had contacts with Texas.”

Logan Int’l Inc. v. 1556311 Alberta Ltd., 929 F.Supp.2d 625, 630-31 (S.D. Tex. 2012).

       Plaintiffs contend that their “claims are based on allegations that the conspirators

directed intentionally tortious conduct at them, residents of Texas, intending to cause (and

actually causing) them injuries in Texas.” Ps. Resp. II 19. But plaintiffs have not alleged

any contacts with Texas by Benedetti, ICD, or Dynex Holding, nor have plaintiffs alleged

that any conspiratorial behavior occurred in Texas. See Eagle Metal Prods., 651 F.Supp.2d

at 594. Indeed, the only parties mentioned by name within the civil conspiracy claim (or

fraudulent transfer claim, for that matter) are Dynex Capital and DCI. Plaintiffs do not

sufficiently allege that Benedetti, ICD, or Dynex Holding played a role in a conspiracy, much

less that they purposely directed any efforts towards Texas residents. These omissions are

fatal to plaintiffs’ ability to make a prima facie case of personal jurisdiction on the basis of

the conspiracy theory. Accordingly, the court grants the motions of Benedetti, ICD, and

Dynex Holding to dismiss for lack of personal jurisdiction, but it also grants plaintiffs leave

to replead the grounds on which they rely for the exercise of personal jurisdiction.




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                                               III

       The court next turns to defendants’ motions to dismiss pursuant to Rules 8(a), 9(b),

and 12(b)(6).

                                               A

       Under Rule 12(b)(6), the court evaluates the pleadings by “accept[ing] ‘all well-

pleaded facts as true, viewing them in the light most favorable to the plaintiff.’” In re

Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007) (quoting Martin K. Eby

Constr. Co. v. Dall. Area Rapid Transit, 369 F.3d 464, 467 (5th Cir. 2004)). To survive

defendants’ motions to dismiss, plaintiffs must allege enough facts “to state a claim to relief

that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A

claim has facial plausibility when the plaintiff[s] plead[] factual content that allows the court

to draw the reasonable inference that the defendant[s] [are] liable for the misconduct alleged”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “The plausibility standard is not akin to a

‘probability requirement,’ but it asks for more than a sheer possibility that a defendant has

acted unlawfully.” Id.; see also Twombly, 550 U.S. at 555 (“Factual allegations must be

enough to raise a right to relief above the speculative level[.]”). “[W]here the well-pleaded

facts do not permit the court to infer more than the mere possibility of misconduct, the

complaint has alleged—but it has not ‘show[n]’—‘that the pleader is entitled to relief.’”

Iqbal, 556 U.S. at 679 (quoting Rule 8(a)(2)). Furthermore, under Rule 8(a)(2), a pleading

must contain “a short and plain statement of the claim showing that the pleader is entitled to

relief.” Although “the pleading standard Rule 8 announces does not require ‘detailed factual

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allegations,’” it demands more than “labels and conclusions.” Iqbal, 556 U.S. at 678

(quoting Twombly, 550 U.S. at 555). And “a formulaic recitation of the elements of a cause

of action will not do.” Id. (quoting Twombly, 550 U.S. at 555).

          “Rule 9(b) imposes a heightened pleading standard for fraud claims and requires that

a party state with particularity facts supporting each element of fraud.”             Turner v.

AmericaHomeKey Inc., 2011 WL 3606688, at *2 (N.D. Tex. Aug. 16, 2011) (Fitzwater, C.J.)

(citing Benchmark Elecs., Inc. v. J.M. Huber Corp., 343 F.3d 719, 724 (5th Cir. 2003)), aff’d,

514 Fed. Appx. 513 (5th Cir. 2013) (per curiam). “At a minimum, Rule 9(b) requires

allegations of the particulars of time, place, and contents of the false representations, as well

as the identity of the person making the misrepresentation and what he obtained thereby.”

Id. (quoting Benchmark Elecs., 343 F.3d at 724) (internal quotation marks omitted). More

colloquially, plaintiffs must plead the “who, what, when, where, and how” of the fraud.

Williams v. Bell Helicopter Textron, Inc., 417 F.3d 450, 453 (5th Cir. 2005) (quoting United

States ex rel. Thompson v. Columbia/HCA Healthcare Corp., 125 F.3d 899, 903 (5th Cir.

1997)).

                                               B

       Defendants contend that plaintiffs’ fraudulent transfer claim should be dismissed

because it fails to satisfy the pleading requirements of Rule 8(a), 9(b), and 12(b)(6) and

because it has been extinguished by the statute of repose.




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                                                1

       A creditor plaintiff may assert a claim under several provisions of TUFTA. To

establish a claim under § 24.005, which can be invoked by present and future creditors, “a

plaintiff must prove that (1) [it] is a ‘creditor’ with a claim against a ‘debtor’; (2) the debtor

transferred assets after, or a short time before, the plaintiff’s claim arose; and (3) the debtor

made the transfer with the intent to hinder, delay, or defraud the plaintiff.” Dontos v.

Vendomation NZ Ltd., 582 Fed. Appx. 338, 344 (5th Cir. 2014) (per curiam) (citing Nwokedi

v. Unlimited Restoration Specialists, Inc., 428 S.W.3d 191, 203-05 (Tex. App. 2013, pet.

denied)).

       TUFTA also classifies certain transfers that are fraudulent as to present creditors.

Under § 24.006(a),

               [a] transfer made or obligation incurred by a debtor is fraudulent
               as to a creditor whose claim arose before the transfer was made
               or the obligation was incurred if the debtor made the transfer or
               incurred the obligation without receiving a reasonably
               equivalent value in exchange for the transfer or obligation and
               the debtor was insolvent at that time or the debtor became
               insolvent as a result of the transfer or obligation.

And under § 24.006(b),

               [a] transfer made by a debtor is fraudulent as to a creditor whose
               claim arose before the transfer was made if the transfer was
               made to an insider for an antecedent debt, the debtor was
               insolvent at that time, and the insider had reasonable cause to
               believe that the debtor was insolvent.

       Whether fraudulent intent is required depends on the provision of TUFTA at issue.

See E. Poultry Distribs., Inc. v. Yarto Puez, 2001 WL 34664163, at *2 (N.D. Tex. Dec. 3,

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2001) (Lynn, J.) (comparing Tex. Bus. & Com. Code Ann. § 24.005(a)(1) (requiring “intent

to hinder, delay, or defraud” to prove fraudulent transfer), with Tex. Bus. & Com. Code Ann.

§ 24.005(a)(2) (providing for constructive fraudulent transfer that does not require intent to

defraud), and Tex. Bus. & Com. Code Ann. § 24.006 (same)). TUFTA allows recovery

against the debtor, the transferee, or the person for whose benefit the transfer was made. See

Tex. Bus. & Com. Code Ann. §§ 24.008, 24.009; Mack v. Newton, 737 F.2d 1343, 1361 (5th

Cir. 1984) (addressing TUFTA’s predecessor, the Uniform Fraudulent Conveyance Act, and

noting that the statute “does not provide for recovery other than recovery of the property

transferred or its value from one who is, directly or indirectly, a transferee or recipient

thereof.”).

                                                2

       In their first amended complaint, plaintiffs have not alleged sufficient facts to

plausibly state a claim for fraudulent transfer, although they have remedied certain errors.

The first amended complaint alleges, as did the petition, that: “[a]fter [DCI] was sued by

Plaintiffs it transferred all or part of the Property to Dynex Capital or other affiliates in order

to place the Property out of the reach of [DCI’s] creditors, including Plaintiffs.” 1st Am.

Compl. ¶ 30. And plaintiffs still assert that they discovered

               evidence of potentially Tens of Millions of Dollars in secured
               positions on real estate that were titled in the name of [DCI]
               and/or Dynex Capital, as well as assignments from [DCI] to
               Dynex Capital. These UCC filings even covered property in
               which [DCI] had taken a secured position on property owned by
               one or more of the Plaintiffs.


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Id. ¶ 25. Plaintiffs have added assertions concerning a UCC-1 notebook of transactions

relating to Dynex Capital and DCI, and have attached multiple UCC financing statements to

their first amended complaint. Not until their opposition to the motions to dismiss, however,

did plaintiffs specify the transfers of which they complain and the specific provision of

TUFTA5 on which they rely.6

       In detailing the fraudulent transfer claim in their first amended complaint, plaintiffs

rely on similar allegations to those in their petition, several of which remain unsubstantiated

even by the over one thousand pages of exhibits. For example, plaintiffs continue to

summarily allege that “[t]he transfers were for less than reasonably equivalent value.” 1st

Am. Compl. ¶ 70. And, without further clarity on the property being transferred and the

circumstances under which it was transferred, the court cannot agree that fraudulent intent

is “obvious given the timing [of the transfers], i.e. during the pendency of the State Action.”


       5
        The court does not suggest that a pleading must cite the statute on which the pleader
relies. See Johnson v. City of Shelby, ___ U.S. ___, 135 S. Ct. 346, 347 (2014) (per curiam)
(reversing holding of court of appeals that plaintiffs seeking relief under 42 U.S.C. § 1983
must cite the statute expressly, and concluding that, even after Twombly and Iqbal, plaintiffs
need only plead the factual basis of their claims). But here, the absence of a citation to a
specific provision of TUFTA, combined with the factual deficiencies in the first amended
complaint, contributes to the court’s inability to draw the reasonable inference that plaintiffs
have pleaded a plausible claim.
       6
        Plaintiffs express in both oppositions to the motions to dismiss that they have
“clearly” pleaded their claim pursuant to § 24.005(a)(1) and that “[t]he 40 assignments from
DCI to Dynex Capital are the subject of Plaintiffs’ TUFTA § 24.005(a)(1) claim.” Ps. Resp.
I 22; Ps. Resp. II 32. The court does not decide at this time whether plaintiffs’ claim, as
formulated in their responses, states a claim on which relief can be granted. See Price v.
Am.’s Servicing Co., 2013 WL 1914939, at *6 n. 5 (N.D. Tex. May 9, 2013) (Fitzwater,
C.J.).

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See id. One of the factors the court may consider when determining actual intent under

§ 24.005(a)(1) is whether “before the transfer was made or obligation was incurred, the

debtor had been sued or threatened with suit.” Tex. Bus. & Com. Code Ann. § 24.005(b)(4).

But given the current pleading, defendants and the court are left guessing as to the precise

transfers on which plaintiffs’ base their claim. This becomes especially problematic if

plaintiffs are pleading their fraudulent transfer claim pursuant to § 24.005(a)(1), because that

provision of TUFTA requires actual intent and is likely subject to Rule 9(b). See Clapper

v. Am. Realty Inv’rs, Inc., 2018 WL 3868703, at *8 (N.D. Tex. Aug. 14, 2018), recons.

denied, 2018 WL 6011182 (N.D. Tex. Nov. 16, 2018) (Fitzwater, J.) (explaining that,

although an open question in the Fifth Circuit, several members of this court have applied

the enhanced pleading requirements of Rule 9(b) where plaintiffs seek to establish the actual

intent of the debtor).

       Thus although plaintiffs have attached multiple UCC financing statements to their first

amended complaint, these documents have not sufficiently transformed what the court

previously deemed threadbare recitations of the elements into a pleading that enables the

court to reasonably infer that Dynex Capital and DCI are liable for fraudulent transfers under

TUFTA. Nor does the first amended complaint state a claim for fraudulent transfer against

Benedetti, ICD, or Dynex Holding. These parties are not mentioned in the fraudulent transfer

claim, and there are no factual assertions in the first amended complaint to support the

reasonable inference that Benedetti, ICD, or Dynex Holding transferred, received, or

otherwise participated in a specific exchange of property. Accordingly, the court grants

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defendants’ motions to dismiss plaintiffs’ fraudulent transfer claim.7

                                              C

       Defendants maintain that plaintiffs’ conspiracy claim should be dismissed because the

underlying tort claim (fraudulent transfer) must be dismissed and because plaintiffs have only

alleged that defendants are general creditors to the allegedly fraudulently transferred

property. The court agrees.

       First, “[c]ivil conspiracy is not an independent cause of action, but a derivative claim

dependent on an underlying tort.” Mezz III, LLC v. Keenan, 2017 WL 6761062, at *4 (N.D.

Tex. Dec. 28, 2017) (McBryde, J.); see also Arthur W. Tifford, PA v. Tandem Energy Corp.,

562 F.3d 699, 709 (5th Cir. 2009). Civil conspiracy claims should be dismissed where

plaintiffs fail to allege a predicate tort. See Berry v. Lee, 428 F.Supp.2d 546, 562 (N.D. Tex.

2006) (Fitzwater, J.). Thus because the court is granting defendants’ motions to dismiss

plaintiffs’ fraudulent transfer claim, it also dismisses their conspiracy claim.

       Second, “a mere general creditor may take advantage of the Texas fraudulent

conveyance statute, but . . . may not recover damages for conspiracy to commit a fraudulent


       7
         Because the court is dismissing the fraudulent transfer claim under Rules 12(b)(6)
and 8(a)(2), it will not address DCI’s and Dynex Holding’s contentions that plaintiffs’
fraudulent transfer claims are barred by the statute of repose (including the argument that
plaintiffs have alleged “fraud on the court”). The court notes, however, that “[a]pplication
of the TUFTA ‘discovery rule’ is a factual question generally inappropriate for resolution on
a motion to dismiss.” Official Stanford Inv’rs Comm. v. Greenberg Traurig, LLP, 2014 WL
12572881, at *10 (N.D. Tex. Dec. 17, 2014) (Godbey, J.). The court likewise does not
address the question whether Rule 9(b) applies to plaintiffs’ alter ego claim or whether the
allegations of plaintiffs’ first amended complaint satisfy the heightened particularity
requirement of Rule 9(b).

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conveyance.” Mack v. Newton, 737 F.2d 1343, 1362 (5th Cir. 1984) (footnote omitted). This

is because

              a mere general creditor without a lien has no interest in the
              debtor’s property, and hence is not legally injured by any
              conspiracy with the debtor to aid him in disposing of his
              property in order to evade the payment of his financial
              obligations, and cannot maintain an action based upon such
              conspiracy.

Clapper v. Am. Realty Inv’rs, Inc., 2015 WL 3504856, at *4-5 (N.D. Tex. June 3, 2015)

(Fitzwater, J.) (quoting Stonecipher’s Estate v. Butts’ Estate, 591 S.W.2d 806, 808 (Tex.

1979)). At best, plaintiffs have alleged that they were general creditors as to any allegedly

transferred property because they “neither explicitly plead nor contend in their response that

they had a judgment lien” on any of DCI’s property. Id. at *5. Accordingly, because

plaintiffs have alleged no more than that they were general creditors as to any allegedly

fraudulently transferred property, and because, under Texas law, a general creditor cannot

recover damages for conspiracy to commit a fraudulent conveyance, plaintiffs have failed to

state a plausible conspiracy claim.

                                              D

       Defendants maintain that plaintiffs’ pleading of an alter ego claim does not satisfy the

pleading requirements of Rule 8(a), 9(b), and 12(b)(6).

                                              1

       As the court explained in Basic Capital II—and as all parties concede—Virginia law

applies when determining whether plaintiffs have sufficiently pleaded alter ego liability.


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       Under Virginia law, “[a] court can pierce the corporate veil only upon a showing that

(1) the corporation was the ‘alter ego, alias, stooge, or dummy’ of the other entity; and (2)

‘the corporation was a device or sham used to disguise wrongs, obscure fraud, or conceal

crime.’” Oliver v. Omega Protein, Inc., 2011 WL 1044403, at *5 (E.D. Va. Jan. 31, 2011)

(citation omitted), rec. adopted, 2011 WL 976619 (E.D. Va. Mar. 17, 2011).

              The factors considered significant to this inquiry are the initial
              capitalization of the corporation, the non-payment of dividends
              by the corporation, the siphoning of funds by the shareholder,
              the failure to observe corporate formalities, the non-functioning
              of officers and directors, the absence of corporate records and
              the fact that the corporation is merely a facade for the dominant
              shareholder.

U.S. for Use & Benefit of Skip Kirchdorfer, Inc. v. Aegis/Zublin Joint Venture, 869 F. Supp.

387, 393 (E.D. Va. 1994) (citing DeWitt Truck Brokers, Inc. v. W. Ray Flemming Fruit Co.,

540 F.2d 681, 685-87 (4th Cir. 1976)).

                                              2

       Defendants contend, inter alia, that plaintiffs have not alleged facts showing that any

party is the alter ego of another and that plaintiffs have not sufficiently distinguished the

actions of any defendant.

       The court concludes that plaintiffs’ assertion of alter ego liability must be dismissed

for several reasons. First, the first amended complaint contains the same allegations that the

court deemed to be conclusory in Basic Capital II. Even more problematic, the first amended

complaint contains references to “defendants” and “defendant entities” that are less clear than

those of plaintiffs’ petition because the defendant groups now include more parties than

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solely Dynex Capital and DCI. In other words, because “defendants” now comprise Dynex

Capital, DCI, Benedetti, ICD, and Dynex Holding, and the term “defendant entities” includes

all of the aforementioned, excluding Benedetti, the first amended complaint is not entirely

clear which corporate veil plaintiffs seek to pierce or which defendants were allegedly

exercising undue dominion and control over others.

       Moreover, contrary to plaintiffs’ assertions in response to defendants’ motions to

dismiss, many additions that plaintiffs have made to their alter ego claim continue to employ

tactics of conclusory repetition of factors as opposed to stating factual allegations. See 1st

Am. Compl. ¶¶ 79-80. Indeed, it is not sufficient to assert that over 250 pages of deposition

testimony “show” or “demonstrate” the factors that Virginia courts have deemed significant

to the alter ego inquiry. See id. ¶¶ 61, 79-80.

       Plaintiffs have added allegations in an effort to bolster the second element of alter ego

and show that DCI was a device or sham used to disguise wrongs, obscure fraud, or conceal

crime. See, e.g., id. ¶ 43 (alleging that Dynex Capital and DCI entered a litigation cost

sharing agreement to obscure fraud); id. ¶ 80 (alleging a series of fraudulent transfers). Still,

these allegations do not alone state a plausible claim for alter ego liability because Virginia

law requires that a plaintiff show both that “(1) the corporation was the ‘alter ego, alias,

stooge, or dummy’ of the other entity; and (2) ‘the corporation was a device or sham used

to disguise wrongs, obscure fraud, or conceal crime.’” Oliver, 2011 WL 1044403, at *5.

Plaintiffs have simply not alleged facts sufficient to support their contention that a corporate

entity should be disregarded in this case. Accordingly, the court dismisses plaintiffs’ alter

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ego claim.8

                                             IV

       Plaintiffs expressly request leave to replead the court’s personal jurisdiction over

Benedetti, ICD, and Dynex Holding, as well as leave to replead their fraudulent transfer,

conspiracy, and alter ego liability claims. Defendants maintain that, because plaintiffs have

not adequately pleaded their claims for a second time and because the claims remain barred

by the statute of limitations and res judicata, leave to amend would be futile and should be

denied.

       The court recognizes that futility of amendment is properly considered when deciding

whether to grant leave to amend. See, e.g., F.D.I.C. v. Conner, 20 F.3d 1376, 1385 (5th Cir.

1994) (“[L]eave to amend need not be granted when it would be futile to do so.”). This holds

true as well in the context of pleading personal jurisdiction. The court recently denied a

request for leave to amend where the plaintiff had already had an opportunity to present

evidence in support of personal jurisdiction and had failed to make the required prima facie

showing. Shippitsa Ltd. v. Slack, 2019 WL 277613, at *6 (N.D. Tex. Jan. 22, 2019)

(Fitzwater, J.) (citing cases that support denying leave to amend based on futility of

amendment in context of challenge to personal jurisdiction). Nevertheless, the court’s almost

unvarying practice—as expressed, for example, in Basic Capital II—when futility is raised



       8
        As in Basic Capital II, because the court is dismissing the alter ego claim on Rule
12(b)(6) grounds, it will not address defendants’ argument that plaintiffs’ alter ego claim is
barred by res judicata and the statute of limitations.

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is to address the merits of the claim in the context of a Rule 12(b)(6) or Rule 56 motion.

              The court only infrequently considers the merits of new causes
              of action in the context of Rule 15(a). The court prefers instead
              to do so in the context of a Rule 12(b)(6) or Rule 56 motion,
              where the procedural safeguards are surer. Therefore, the court
              suggests no view regarding the merits of these claims, leaving
              that question to a decision in response to an appropriate motion.

Poly-Am., Inc. v. Serrot Int’l Inc., 2002 WL 206454, at *2 (N.D. Tex. Feb. 7, 2002)

(Fitzwater, J.). Accordingly, although the court is granting defendants’ motions to dismiss,

it will permit plaintiffs to file a second amended complaint for purposes of adequately

pleading the court’s personal jurisdiction and pleading a plausible claim on which relief can

be granted.9 See In re Am. Airlines, Inc., Privacy Litig., 370 F.Supp.2d 552, 567-68 (N.D.

Tex. 2005) (Fitzwater, J.) (“[D]istrict courts often afford plaintiffs at least one opportunity

to cure pleading deficiencies before dismissing a case, unless it is clear that the defects are

incurable or the plaintiffs advise the court that they are unwilling or unable to amend in a

manner that will avoid dismissal.”) (internal quotation marks and citation omitted). Plaintiffs

are often able to state plausible claims for relief when amending after a motion to dismiss has

been granted. See, e.g., Reneker v. Offill, 2010 WL 1541350, at *2, *7 (N.D. Tex. Apr. 19,

2010) (Fitzwater, C.J.) (after twice granting motions to dismiss, concluding that plaintiff’s



       9
        Some of the defects identified in this memorandum opinion and order and in
defendants’ motions to dismiss may be incurable, but the court will permit plaintiffs to
replead to ensure that they have been given a fair opportunity to avoid dismissal of claims
based on pleading deficiencies alone. See Price, 2013 WL 1914939, at *9. Further, because
the court is permitting plaintiffs to replead, it denies without prejudice DCI’s alternative
motion to strike portions of plaintiffs’ first amended complaint as moot.

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second amended complaint stated claim on which relief could be granted).

       Because plaintiffs have stated that they are willing to cure any defects that the court

identifies, the court grants them 28 days from the date this memorandum opinion and order

is filed to file a second amended complaint. The court reiterates, however, that Twombly and

Iqbal do not dispense with Rule 8(a)(2)’s mandate that the complaint contain “a short and

plain statement of the claim showing that the pleader is entitled to relief.” And Rule 9(b)

requires particularity, not obscurity. This is not to say, of course, that the complaint should

be conclusory. Rather, it is to emphasize that plaintiffs should take care to avoid including

allegations and exhibits that only serve to obfuscate their claims. “A complaint can be

long-winded, even prolix, without pleading with particularity . . . . [S]uch a garrulous style

is not an uncommon mask for an absence of detail.” Williams v. WMX Techs., Inc., 112 F.3d

175, 178 (5th Cir. 1997).

                                          *     *      *

       For the reasons explained, the court grants defendants’ motions to dismiss. DCI’s

alternative motion to strike portions of plaintiffs’ first amended complaint is denied without

prejudice as moot. The court grants plaintiffs 28 days from the date this memorandum

opinion and order is filed to file a second amended complaint.10



       10
         On January 17, 2019 plaintiffs filed an opposed motion for leave to supplement the
record. This motion is best decided by the successor judge who receives this case following
the undersigned’s request that the case be reassigned due to taking senior status. The motion
is therefore denied without prejudice to being re-filed under the schedule and procedures
imposed by the successor judge.

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    SO ORDERED.

    January 25, 2019.



                                 _________________________________
                                 SIDNEY A. FITZWATER
                                 SENIOR JUDGE




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